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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )             4:08CR3177-1
                 Plaintiff,               )
                                          )
     vs.                                  )            ORDER
                                          )
JOHN DOUGLAS SUTTON,                      )
                                          )
                 Defendant.               )



      I find that the above-named defendant is eligible for
appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. §3006A, and the Amended Criminal Justice Act Plan for the
District of Nebraska.

      IT THEREFORE HEREBY IS ORDERED that Greg Damman is appointed
as stand-by counsel for the above-named defendant.

      IT IS FURTHER ORDERED that the Federal Public Defender's
Office shall forthwith provide counsel with a draft appointment
order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance
with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of
this order to the Federal Public Defender and the defendant’s
attorney.

     DATED: June 25, 2009

                                    BY THE COURT

                                    s/ Richard G. Kopf
                                    Richard G. Kopf
                                    United States District Judge
